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                                  4                            IN THE UNITED STATES DISTRICT COURT

                                  5                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                  7      MICRON TECHNOLOGY, INC.,                        Case No. 17-cv-06932-MMC
                                                       Plaintiff,                        ORDER GRANTING PLAINTIFF'S
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                                                                                         MOTION TO SERVE DEFENDANT
                                                 v.                                      JINHUA BY ALTERNATIVE MEANS;
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                                                                                         DEFERRING RULING ON
                                  10     UNITED MICROELECTRONICS                         DEFENDANT JINHUA'S MOTION TO
                                         CORPORATION, et al.,                            DISMISS; VACATING HEARING
                                  11                   Defendants.                       Re: Dkt. No. 117
                                  12
Northern District of California
 United States District Court




                                  13          Before the Court are two motions: (1) defendant Fujian Jinhua Integrated Circuit
                                  14   Co., Ltd.'s ("Jinhua") "Motion to Dismiss for Insufficient Service of Process and for Lack
                                  15   of Personal Jurisdiction," filed October 2, 2018; and (2) plaintiff Micron Technology, Inc.'s
                                  16   ("Micron") "Motion to Serve Defendant Fujian Jinhua Integrated Circuit Co., Ltd. by
                                  17   Alternative Means Under Federal Rule of Civil Procedure 4(f)(3)," filed October 16, 2018.
                                  18   Both motions have been fully briefed. Having read and considered the parties' respective
                                  19   written submissions, the Court finds the matters suitable for determination thereon,
                                  20   VACATES the hearing scheduled for November 30, 2018, and hereby rules as follows.
                                  21          Jinhua is a "limited liability corporation founded in Mainland China." (See Zheng
                                  22   Decl. ¶ 3.) Under the Federal Rules of Civil Procedure, a foreign corporation may be
                                  23   served at "a place not within any judicial district of the United States" in the same manner
                                  24   as that by which an individual may be so served, see Fed. R. Civ. P. 4(h)(2), including the
                                  25   following: (1) by any means "authorized by the Hague Convention on the Service Abroad
                                  26   of Judicial and Extrajudicial Documents" ("Hague Convention"), see Fed. R. Civ. P.
                                  27   4(f)(1); (2) by, "unless prohibited by the foreign country's law, . . . using any form of mail
                                  28   that the clerk addresses and sends to the [corporation] and that requires a signed
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                                  1    receipt," see Fed. R. Civ. P. 4(f)(2)(C); and (3) "by other means not prohibited by

                                  2    international agreement, as the court orders," see Fed. R. Civ. P. 4(f)(3).1

                                  3           In the instant case, Micron first attempted to serve Jinhua in China by the means

                                  4    set forth in Rule (4)(f)(1), i.e., by following a procedure authorized by the Hague

                                  5    Convention, but was unsuccessful in accomplishing service in such manner. (See

                                  6    Quintanilla Decl. ¶¶ 2-3.) Thereafter, Micron sought to effectuate service under Rule

                                  7    4(f)(2)(C), specifically, by causing the Clerk of Court to mail a copy of the summons and

                                  8    complaint to Stephen Chen at two addresses in Taiwan (see Doc. Nos. 89, 90),2 a

                                  9    manner of service challenged by Jinhua in its motion to dismiss. By the instant motion,

                                  10   Micron now asks the Court to defer ruling on Jinhua's motion and seeks, pursuant to Rule

                                  11   4(f)(3), leave of court to serve Jinhua by other means, specifically, by service of the

                                  12   summons and complaint on Jinhua by email sent to Jinhua's "United States counsel of
Northern District of California
 United States District Court




                                  13   record, Dan Johnson and/or Lyle B. Vander Schaaf" (see Pl.'s Mot. at 1:11-12), or,

                                  14   alternatively, to Jinhua's email address, specifically, service@jhicc.cn.

                                  15          "[S]ervice of process under Rule 4(f)(3) is neither a last resort nor extraordinary

                                  16   relief," but, rather, "merely one means among several which enables service of process

                                  17   on an international defendant." See Rio Properties, Inc. v. Rio Int'l Interlink, 284 F.3d

                                  18   1007, 1015 (9th Cir. 2002). A plaintiff seeking leave to serve a summons and complaint

                                  19   pursuant to Rule 4(f)(3) must, however, show "the particularities and necessities of a

                                  20   given case require [such] alternative service." See id. at 1016.

                                  21          Here, as noted, Micron attempted to effectuate service in China on Jinhua through

                                  22   a procedure authorized by the Hague Convention. In particular, Micron has submitted a

                                  23   declaration stating Micron caused the Clerk of Court to deliver to the Ministry of Justice in

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                                              The one exception is personal delivery, a means not implicated by the parties'
                                  26   respective motions.
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                                  27          It is undisputed that Stephen Chen is the President of Jinhua. (See Zheng Decl.
                                       ¶ 21; Quintanilla Decl. ¶ 5.) The summons and complaint were mailed to him at "both his
                                  28   business and personal addresses in Taiwan." (See Quintanilla Decl. ¶ 5.)

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                                  1    China "all the required documents," which documents had been "professionally translated

                                  2    into simplified Mandarin Chinese – the official language of [China]" (see Quintanilla Decl.

                                  3    ¶ 2), that four months after it received the documents, the Ministry of Justice, without

                                  4    further elaboration, returned them to Micron for the stated reason that "[t]he Chinese

                                  5    translation is not complete" (see id. ¶ 3, Ex. 1), and that, upon receiving the documents

                                  6    back from the Ministry of Justice, Micron "verified again that all the documents had been

                                  7    translated and certified" (see id. ¶ 3).

                                  8           The Court finds Micron's efforts to serve Jinhua through the Ministry of Justice

                                  9    were reasonable, and that requiring Jinhua to again attempt to serve Micron through the

                                  10   Ministry of Justice likely would cause a delay of at least four months, even assuming said

                                  11   agency would now accept the documents for service. Under such circumstances, Micron

                                  12   has shown it is appropriate to serve Jinhua by alternative means. See Microsoft Corp. v.
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 United States District Court




                                  13   Buy More, Inc., 703 Fed. Appx. 476, 480 (9th Cir. 2017) (affirming order allowing plaintiff

                                  14   to serve foreign defendant pursuant to Rule 4(f)(3), where plaintiffs showed it first

                                  15   "diligently attempted to serve [defendant]" by other means); In re TFT-LCD (Flat Panel)

                                  16   Antitrust Litig., 270 F.R.D. 535, 537 (N.D. Cal. 2010) (granting motion to serve foreign

                                  17   defendant pursuant to Rule 4(f)(3), where service by other means would create delay of

                                  18   four to six months).

                                  19          The Court further finds that allowing Micron to serve the summons and complaint

                                  20   on Jinhua by emailing said documents to Jinhua's counsel of record in the United States

                                  21   is appropriate, as such form of alternative service is not prohibited under the Hague

                                  22   Convention, see Cheetah Mobile, Inc. v. APUS Group, 2106 WL 4036098, at *3 (N.D.

                                  23   Cal. July 28, 2016), and has been approved by federal courts on numerous occasions,

                                  24   see, e.g., Rio Properties, 284 F.3d at 1016-17 (observing "trial courts have repeatedly

                                  25   authorized a wide variety of alternative methods of service including . . . email"; finding

                                  26   said "method of service . . . was constitutionally acceptable"); see also Richmond

                                  27   Technologies, Inc. v. Aumtech Business Solutions, 2011 WL 2607158, at *13 (N.D. Cal.

                                  28   July 1, 2011) (holding "[s]ervice upon a foreign defendant's United States-based counsel
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                                  1    is a common form of service ordered under Rule 4(f)(3)) (collecting cases).3

                                  2           Accordingly, Micron's motion to serve Jinhua by alternative means will be granted,

                                  3    and the Court will defer ruling on Jinhua's motion to dismiss until the deadline for Micron

                                  4    to complete and file proof of such service has passed.

                                  5                                          CONCLUSION

                                  6           For the reasons stated above, the Court hereby DEFERS ruling on Jinhua's

                                  7    motion to dismiss, and Micron's motion to serve Jinhua by alternative means is hereby

                                  8    GRANTED. Micron is afforded leave to serve the summons and complaint on Jinhua by

                                  9    email sent to Jinhua's United States counsel of record, specifically, Daniel Johnson Jr.

                                  10   and Lyle B. Vander Schaaf, said service to be completed no later than December 5,

                                  11   2018; proof of such service shall be filed no later than December 10, 2018.

                                  12          IT IS SO ORDERED.
Northern District of California
 United States District Court




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                                  14   Dated: November 20, 2018
                                                                                                MAXINE M. CHESNEY
                                  15                                                            United States District Judge
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                                  25           As noted, Micron alternatively seeks leave to serve Jinhua by sending the
                                       summons and complaint to Jinhua at its email address in China, a form of service that at
                                  26   least some courts have found would violate the Hague Convention. See, e.g., Cheetah
                                       Mobile, 2106 WL 4036098, at *2 (noting split of authority as to whether service of
                                  27   summons and complaint by email sent to China is prohibited by Hague Convention).
                                       This Court, in light of the above ruling, need not further consider Micron's alternative
                                  28   request.

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